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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


UNITED STATES OF AMERICA

V.                                      CRIMINAL ACTION FILE

GARY SHARP,                             NUMBER i:i4-cr-229-l-TCB
                                        and i:i4-cr-227-TCB
            Defendant.


                                ORDER


      Before the Court is Defendant Gary Sharp's motion for permission

to travel from Rhode Island (where he resides) to New York for the

purpose of taking a cruise to the Bahamas and returning on March 4,

2018.    The Government does not oppose Defendant's motion. The

motion is hereby GRANTED. The Defendant shall comply with all

other conditions of his pretrial release.

        IT IS SO ORDERED this 31st day of January, 2018.



                                   Timothy C. Batten, Sr.
                                   United States District Judge
